             Case 1:20-cv-07422-JMF Document 16 Filed 12/21/20 Page 1 of 7




                       DECLARATION OF Giuseppina (PINA) D’INTINO

        I, Giuseppina “Pina” D’Intino, declare as follows:

        1.       I am the founder, owner and director of Aequum Global Access Inc.

(“Aequum”), a consulting and service company that provides accessibility services to

businesses, agencies and organizations in the United States and Canada. Over the past four

years, Aequum has directly helped clients, including large banks, telecommunication

companies, and provincial and federal government agencies, to plan and achieve
accessibility conformance and compliance. Among other services, Aequum evaluates the

accessibility of websites and provides technical guidance to clients on how to make their

websites accessible to individuals with disabilities.

        2.       I have over 20 years’ experience as an accessibility consumer, strategist,

implementor and consultant. My professional credentials include a Master’s degree in
Inclusive Design from the Ontario College of Design University (OCADU in Toronto,

Canada. (I am also a Certified Professional in Accessibility Core Competencies (CPACC)

by the International Association of Accessibility Professionals (IAAP). I contribute to a

number of best practices publications, including the National Federation of the Blind

(NFB) Switchboard resource, and the ICT Accessibility Testing Symposium. More
information about my background may be found in my curriculum vitae, which is attached

to this declaration.

        3.       I am also a person with a disability, successfully working with complete

vision impairment.

        4.       At the request of Adagio Teas, Inc. (“Adagio”), through its counsel Law

Offices of Laura E. Neish PLLC, I personally reviewed the website www.adagio.com (the

“Website”) using three different screen readers: JAWS versions 2017 and 2019 and a

current version of NVDA. I also conducted testing with three different browsers: Internet



                                                  1
            Case 1:20-cv-07422-JMF Document 16 Filed 12/21/20 Page 2 of 7




Explorer, Chromium and Microsoft Edge. The objective of the testing was to determine

accessibility by a screen reader user, specifically whether a blind screen reader user could

select items from the Website product list, add them to a shopping cart and proceed to a

successful checkout.

       5.       I conducted the testing several times from December 11 to 17, 2020. Using

the JAWS and NDVA screen readers I went through the following steps:

             a) Log on to the Website.
             b) Explore the Website structure (headings, buttons, links, and links list) from the
                home page.
             c) Click to skip to content.
             d) Land on the list of types of available products and opt to continue to see what
                more is being offered.
             e) Navigate through the home page (using the tab key and arrow keys) to the list of
                products and select a product.
             f) Select a product that interests me and click on the image to explore more about it.
             g) After reading about the product, add it to my shopping cart.
             h) Decide to return to shopping for more choices.
             i) Select another item from the product list and add it to my cart.
             j) Start the checkout process by clicking on the cart link which already tells me the
                number of items in my cart.
             k) Click on the checkout button, after which the page changes and my cursor is
                placed in a field form.
             l) Enter my email address and can hear that the label “enter email address” is there.
             m) As I scroll down, I am prompted to indicate whether I am a first time or returning
                customer.
             n) I select that I am a new customer.
             o) Click on “next steps” which takes me to the next page, where I need to enter my
                personal information.
             p) Complete the customer personal information and click on the “go to next step”
                button.
             q) After confirming my mailing address, click to billing.
             r) Enter a password for my profile.
             s) Enter my credit card number, CV, and expiry and click on continue.
             t) After hearing not being able to move forward, I realize that there must be an error
                with my entries. I scroll through the page and find the error message, correct my
                credit card number.
             u) Hear a message asking me to review my order.
             v) Review my cart and notice that for item 1, the quantity was accidentally put in as
                a quantity of 2 (two);
             w) Locate the change button and make the quantity change in my cart.



                                                 2
            Case 1:20-cv-07422-JMF Document 16 Filed 12/21/20 Page 3 of 7




             x) Proceed to check out; and
             y) Find the confirmation that my order is processed, and I am informed of my
                confirmation number.

       6.       I was able to complete the above steps using both the JAWS and NVDA

readers in the Internet Explorer, Chromium, and Microsoft Edge browsers. It is therefore

my opinion as an experienced screen-reader user, accessibility professional and evaluator
that the Website is accessible with a screen reader and keyboard when the user wants to

select a product, add the product to the shopping cart/bag, review the order and

successfully check out.


              I declare under penalty of perjury under the laws of the United States of

     America that the foregoing is true and correct.




                              Executed this December 18day of December 2020 in Pickering,
                             Ontario



                                                       ____________________________
                                                             Giuseppina (Pina) D’Intino




                                                 3
             Case 1:20-cv-07422-JMF Document 16 Filed 12/21/20 Page 4 of 7

                                                        Giuseppina (Pina) D’Intino, MDes, PMP, CPACC
                                                     Global Accessibility: Strategies & Implementation
                                                                                                         Pickering, Ontario
                                                                                  416-948-3348 mobile | 905-492-2772 office
                                                                                                pina@aequumaccess.com
                                                                                          www.linkedin.com/in/pinadintino

PROFESSIONAL PROFILE
A goal-driven, influential senior leader with proven leadership, facilitation, training, negotiation, and team building skills.
Diverse professional and personal Accessibility stakeholder experience, with 20-years of direct, high-level working and
implementational knowledge of key Canadian, provincial, US and international Accessibility regulations and standards.
Recognized as a transformational and cultural change agent – with analytical, problem-solving and process
reengineering skills, coupled with excellent communication and relationship building skills – ensuring optimal results for
projects, teams, and the organization.
❖ Solid understanding of customer experiences, inclusion, knowing how to seek out new opportunities for business,
  and facilitate conversations around new offerings/ products with leads. Subject matter expert in accessibility and
  leadership and program management.
❖ Build, leverage upon work and share best practices to reduce redundancy and streamline processes.
  Innovates and motivates as a consultant and international speaker and a network of business leaders, accessibility
  professionals and inclusive design community and researchers.
❖ Work independently and as part of teams (remotely and collaborative) that facilitates strong interaction and
  establishes a positive rapport with employees, clients, and investors.
❖ Lead in transformational cultural change influencer: awarded recognition for team and collaboration – IAAP -2019

MAJOR HONOURS
  •   Queen Elizabeth II Diamond Jubilee Medal. Recognized by Lieutenant Governor David Onley, for outstanding
      leadership. Honouring significant contributions and achievements in Canadian accessibility and employment,
      2013.
  •   Scotiabank Award for Women’s Global Leadership, 2009.

EDUCATION & SKILLS PROFILE (Partial Listing)
  •    Certified Professional in Accessibility Core Competencies (CPACC), IAAP                       2017
  •    Master’s degree – Inclusive Design, (MDes) OCAD University                                    2013
  •    Certificate – Strategic Influence and Throughput, Bay 3000                                    2013
  •    Project Portfolio Management (PGMI), Project Management Institute (PMI)                       2007
  •    Master’s Certificate – Project Management, PMI (Active)                                       2002

  •    Subject matter expert in accessibility and leadership, consultant, and international speaker.
  •    Executive presence with proven ability to influence senior leadership decisions.
  •    Demonstrated success in process review and reengineering – Creating and leading transformational systemic
       change.
  •    Strong team building, motivational, and conflict resolution skills.
  •    Well organized, critical thinker, with a strong ability to multitask, with a reputation for getting things done.
  •    Effective coaching, mentorship, executive training and multi-level training.
  •    Expertise in accessibility and inclusion policies, AODA, ADA, Section 508, WCAG standards, ITC accessibility best
       practices and accommodations.
  •    Multilingual: Fluent in English, French, and Italian. Basic Spanish.
  •    Alternate Communication Methods: Braille; Alternate Electronic /ICT Communication Formats.
              Case 1:20-cv-07422-JMF Document 16 Filed 12/21/20 Page 5 of 7
Pina D’Intino                                                                                                        Page |2
PROFESSIONAL EXPERIENCE
Government of Canada (Statistics Canada) – May 2020 – Current
Senior Accessibility Lead and Strategist
Responsible for the development of an accessibility strategy and roadmap. In collaboration with the Accessibility
Champion and network, develop a step-by-step plan to promote adoption and implementation of the plan.
Development of a Statistics Canada accommodation pulse survey; engagement in inter-departmental committees,
including the Accessibility Practitioner and the ICT Accessibility Data Measurement workgroups, in order to develop a
Theory of Change for the development of an ICT scorecard; drafting of briefing notes for the Chief Statistician and
review and feedback on the Employment Equity Diversity Inclusion yearly objectives and annual plan.
Government of Canada (Shared Services) – January 2020 – May 2020
Senior Accessibility Advisor
Responsible for the development of an accessibility roadmap and a step-by-step plan to promote adoption and
implement change. Review of various accessibility related documents and initiatives. Develop an outreach engagement
campaign to promote Shared Services accessibility offerings and communications. Participate in inter-departmental
meetings collecting best practices and help identify any barriers.
Aequum Global Access – 2016 – Current
Principle Owner and Accessibility Strategies Consultant
Provide professional consultation: Conduct accessibility reviews and assess for systemic and emerging issues, for not-
for-profit, private and public organizations, while helping to facilitate a shift in their organizational cultures. Enable my
clients to achieve AODA, ADA and Sections 503, 504, & 508 compliance, while increasing accessibility and usability for
their products and services. Develop and review project plans, policies, standards and checklists for implementation of
accessibility best practices. Develop executive reporting and training modules and conduct website and online
evaluations and assessments. Participate in various Canadian and international events to promote accessibility
awareness. Provide project management reviews and recommendations for submission and acceptance by multi-
departmental executive stakeholders.
Cognizant Technology Solutions – 2017 – 2019
Global Accessibility Practice Lead
   •    Manage and direct the Cognizant Service Centre remediation teams in delivering over 1-million elements, and
        hundreds of titles and videos for a prominent global-based publishing company: Mitigating schedules and
        addressing escalations; reviewing processes; and delivering training. Facilitated this team to implement a 3-tier
        QA process, which has resulted in significantly exceeding quality control levels and SLA metrics.
   •    Deliver directly to the Vice President of Cognizant Business Technology Division: Data and evidence, expert
        advisory recommendations, in-depth accessibility reviews and proposals, and associated reports – to include best
        and emerging practices in relevant accessibility, and related company/vendor/client operational issues.
   •    Facilitate third-party vendor relationships as they relate to accessible higher-education materials and alt-text
        content.
   •    Work directly with senior-level executives in the Communication Marketing Technology Division, and other
        business leads to write RFIs and RFPs, deliver responses, and provide recommendations with direction for
        implementation.
Scotiabank – 1995 - 2016
Senior Manager – Vendor & Contract Management – 2015 - 2016
Review the ICT contract management process for efficiencies, to improve contract execution and negotiation processes.
Project Lead & Delivery Manager – AODA Information Technology & Solutions / Global Employment Strategies – 2013 - 2015
Subject matter expert for the development of ICT and website accessibility plans for customers and employees to meet AODA
compliance requirements. Delivery of executive training/coaching on accessibility/inclusion principles, best practices and regulation.
Senior Manager, Enabling Solutions & Support Management – 2007 - 2013
Development, management, oversight, implementation and governance of an ICT accessibility roadmap and an accessibility team to
develop and implement ICT accessibility standards and guidelines (WCAG 2.0). Conducted ICT accommodation reviews and
developed resources and processes for various ICT teams within Scotiabank. Developed/Delivered training, workshops, resources,
and best practices. Gathered reporting requirements, including financials. Conducted and delivered analyses, and executive
management dashboards for senior executives.
Senior Manager, Service Management & Reporting / Interim Relationship Manager & IT Accessibility – 2004 - 2008
Supported 1,400 branches across Canada, aimed at their Electronic Banking clients, covering the delivery of service programs,
escalations, and ICT deployment. Responsible for development, management, oversight, and governance of more than 150 ICT
service level agreements (SLAs), and managed the accessibility team.
                                                                   2
             Case 1:20-cv-07422-JMF Document 16 Filed 12/21/20 Page 6 of 7
Pina D’Intino                                                                                                 Page |3
Scotiabank – 1995 – 2016, continued
Senior Manager, Systems Acquisitions & Services – 1997 - 2004
Responsible for hardware and software procurement, contract management, negotiations, equipment rollouts, and automation,
including inventory forecasts and management of the purchasing team.
Senior Financial Analyst, Operations Comptroller – 1995 - 1997
Reviewed and analyzed business cases, making recommendations for financial approvals, monthly budgetary reports and yearly
reports for various divisions of the bank.

OTHER NOTABLE ENGAGEMENTS: CANADIAN & INTERNATIONAL COMMUNITIES
 •    2018: Canada Border Services Agency (CBSA).
      Special contract provided through Aequum Global Access to consult, research, assess, analyse and formally report
      recommendations to address a recognized need to improve CBSA’s Accessibility.
 •    2015 – Present: Service Canada Advisory Committee.
      Provide review for a number of federal government policies and projects. Provide insights from an accessibility and
      operational perspective. Participate in a number of forums and panels on leadership, accessibility and best
      practices.
 •    2013 – Present: AODA Accessibility Advisory Council.
      Consultative review of the five AODA Standards. Provide input on current regulations and upcoming changes.
      Advisor to the Ministry for Seniors and Accessibility.
 •    2017: Government of Canada, Consultant and Advisor.
       o Provided consultation to Elections Canada for the development of accessible voting.
       o   In collaboration with OCAD University, organized the Accessibility Procurement Forum with federal
           procurement representatives and global stakeholders.

 •    2013 - 2016: G3ict: Global Initiative for Inclusive ICTs.
      Chair, Financial Services. Development of international survey on accessible financial services for persons with
      disabilities and aging persons, analysis, results. Presentations in China, UK, and the US; United Nations Convention
      of Persons with Disabilities (UN-CRPD) Financial symposium in New York.
 •    2012 – Present: International Association of Accessibility Professionals (IAAP).
       o Founding member and Global Leadership Council.
       o Chair, Organizational Development Committee (ODC), 2013-Present.
       o Development of the organizational model as well as the development and launch of an international
           accessibility professional certification program, sponsorship packages and launch in 2014.
       o Accomplished, in just five years, from year-one of IAAP’s inception, to establishing the only recognized
           international Accessibility Professional certification in existence. This has been followed by advanced
           certifications development.
 •    2008 - 2014: Accessible Financial Services.
      Successfully influenced and provided guidelines and support to six Canadian banks and two insurance
      organizations (CFIAT), to adopt and implement accessibility standards such as those mandated by the
      Accessibility for Ontarians with Disabilities Act (AODA) and through the disposition of the United
      Nations Convention of Persons with Disabilities (UN-CRPD), which included WCAG standards –
      Promoting the business value and return on investment for both customers and employe es.
 •    2007 – Present: AODA Standards Development – Information & Communications, and Employment.
      Subject matter expert on the Accessibility Directorate Office (ADO) Information and Communications Standards
      Development Committee – New regulations and accessibility standards that have become law in Ontario with a goal
      to achieve an accessible Ontario by 2025.

PUBLICATIONS
 •    Access to Financial Services for Aging and Persons with Disabilities, G3ict (www.g3ict.org), 2014.
 •    Designing Economies and Enabling Policies, DEEP, 2013. This led to the co-organization of the annual DEEP
      Conference through OCAD University.



                                                               3
                 Case 1:20-cv-07422-JMF Document 16 Filed 12/21/20 Page 7 of 7
Pina D’Intino                                                                                                       Page |4
SELECTED ACCOMPLISHMENTS
 •       Since year-2000, my professional focus has included the promotion and implementation of, and education in,
         inclusion and ICT accessibility processes for employees and customers, to include:
          o Developing standards and promoting the establishment of best practices – Including having led the Persons
               with Disabilities Affinity Group.
           o   Creating accessibility roadmaps and methodologies.
           o   Providing policy, education, and awareness workshops – Incorporating training materials into regulatory
               compliance, accessibility and usability testing.
           o   Conducting vendor product assessments and evaluations; managing accessibility-related complaints; and
               performing accommodation reviews.
 •       Implement corporate adoption of ICT accessibility roadmaps and processes and increased in-house expertise and
         capacity in accessibility integration, resulting in:
           o   Reduction of rework in the software and product development lifecycle.
           o   Increased employee and customer engagement and retention.
           o   Decreased corporate reputational risk.
           o   Increased penalty avoidance.
 •       Review employee-facing tools and policies for inclusion, reducing accessibility gaps – Leading to the creation of a
         baseline for the future redesign of internal employee resources.
 •       Conduct audits and physical reviews for organizations to address gaps and facilitate the development of
         remediation plans.
 •       Created the Canadian Financial Institute on Assistive Technology forum (CFIAT): Quarterly meetings with financial
         institutions and vendors to influence the inclusion of accessibility requirements through procurement and testing
         processes (2008-2014).
 •       As a Board and Founding Member of the *International Association of Accessibility Professionals (IAAP):
         Developed the founding package, market development plan, membership promotion, and the first certification
         program of its kind – Resulting in a gain of over 1,900 members, representing 47 countries.
 •       Co-Authored White Papers:
          o Access to Financial Services for Aging and Persons with Disabilities, G3ict (www.g3ict.org), 2014.
          o Designing Economies and Enabling Policies, DEEP, 2013. This led to the co-organization of the annual DEEP
               Conference through OCAD University.
 •       Instrumental in the development of the *Platinum Accessibility Standard for *Job Opportunity Information
         Network (JOIN).
 •       Member of and subject matter expert for, the *Accessibility Directorate Office (ADO), *Information and
         Communications Standards Development Committee – As a group, developed the regulations and standards now
         part of AODA law.

IN TE RNA T IO N AL S PEA K IN G, T RA IN IN GS & CO NSU LT AT ION M EET I N G S ( Part ia l L is t in g )
     •   Anaheim, California            Accessibility Legal Risk Symposium: Organizational Risk Assessments & Mitigation Tools, 2019
     •   OCAD University                Accessibility and Organizational Frameworks, 2019.
     •   University of Guelph           10th Anniversary Accessibility Conference, Keynote Speaker, 2018.
     •   Washington, DC                 ICT Testing Symposium Leadership and Accessibility Profession, 2018.
     •   Ottawa, Kingston, Durham, ON   Open Web: ICT/AODA Best Practices, 2018.
     •   Toronto, Canada                ICTC Discover-Ability Employment Panel, 2017.
     •   White House – Washington, DC   International Day of Persons with Disabilities – The ADA and CRPD, (by invitation only), 2016.
     •   London, England                MasterCard 2020 – Accessibility in Micro Finance, 2013.
     •   Beijing, China                 Federation of Persons with Disabilities (Accessibility in Banking), 2013.
     •   Toronto, Canada                Designing Economies & Enabling Policies, AODA, ICT Accessibility Roadmap, 2011-2013.
     •   Washington, DC                 Designing Economies and Enabling Policies, 2012.
     •   United Nations – New York      Ministerial Roundtable: The Role of ICTs in Empowering Women with Disabilities, 2011.
     •   San Diego, California          Developing an IT Accessibility Roadmap, CSUN 2006.
     •   Toronto, Canada                Schulich Women in Leadership – Aspire to INSPIRE, 2010.
     •   Chicago, Illinois              eTail – Accessibility in eTail, 2007.
     •   São Paolo, Brazil              Accessibility – My Story, 2005, 2006.
     •   New York, New York             IBM Summit – Accessibility and Me, 2003, 2005.
                                                 References available upon request.
                                                                   4
